                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


   IMPLICIT, LLC,
        Plaintiff,                                    Civil Action No. 2:19-cv-00040-JRG-RSP
                                                                    LEAD CASE
   v.

   IMPERVA, INC.                                               JURY TRIAL DEMANDED
        Defendant.

   v.
                                                      Civil Action No. 2:19-cv-00042-JRG-RSP
                                                                 CONSOLIDATED
   SOPHOS, LTD.
        Defendant.



                  PLAINTIFF IMPLICIT, LLC’S RESPONSE TO
            DEFENDANT SOPHOS, LTD.’S MOTION TO TRANSFER VENUE


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I.        INTRODUCTION AND SUMMARY.

          The




                                     Sophos argues that Implicit’s assertion of Beauregard claims

against                      in Sophos hardware products invokes

          because the Sophos hardware products at issue happen to also have                 (which

Implicit does not accuse of infringement). Sophos’s argument would write Beauregard claims out

of the law by requiring that such claims include a ‘processor’ limitation or by transforming them

into method claims that must be performed. Sophos offers no rationale that would support such

radical action. Sophos’s Motion to Transfer is therefore premised on a non-viable theory.

II.       FACTUAL BACKGROUND.

          A. The

          There are three clauses in the               the Court must consider on which Sophos’s

“Strong License Defense” relies:



          The first two clauses say the same thing and the third is exceedingly simple.




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                                         .1 Put simply, if infringement exists independent of

the               does not apply.




           The claims Sophos argues invoke the                      are Beauregard claims. These claims

are infringed when instructions are stored on computer readable media, and no processing is

required, much less processing                               .

           B. Implicit’s Infringement Contentions

           Implicit asserts four patents against Sophos in the present case. U.S. Patent Nos. 8,056,075

(the “’075”); 8,856,779 (the “’779”); 9,325,740 (the “’740”); and 10,255,378 (the “’378”). The

’075 contains only method claims while the ’779, ’740, and ’378 list a mix of method, non-

transitory computer readable storage medium (“CRM”), computer system claims, and apparatus

claims. ECF Nos. 12-1 – 12-4. The ’075, ’779, and ’740 belong to the “App Server” family of

patents. The ’378 belongs to the “Demux” family of patents.



1
    Emphasis supplied by Implicit unless otherwise stated.


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       Sophos’s VP of Finance affirms that the Accused Instrumentalities are



ECF No. 17-1 at ¶ 3.

       Sophos says that Implicit’s Infringement Contentions are “elaborate” and carefully “thread

the needle.” Sophos Br. at 1. The Contentions are clear on what is accused:

 Claim Type Asserted Claims               Accused Instrumentalities
                                     App Server Asserted Claims
                ’075 claims 1-13
   Method       ’779 claims 1-3 & 8-11
                ’740 claim 20

                ’779 claims 12-17
    CRM
                ’740 claims 1-4 & 7-8

                ’779 claims 18-20;
   System
                ’740 claim 19
                                       Demux Asserted Claims
                ’378 claims 1-3, 11, &
   Method
                14-15



  Apparatus     ’378 claims 16-20




       Sophos concedes Implicit’s infringement allegations for the asserted method and system

claims do not implicate                   . See Sophos Br. at 5 (“Implicit alleges that the asserted

method and system claims are infringed only by Sophos XG or SG software

                                                        ’”) (emphasis by Sophos). The only claims

implicated by Sophos’s motion are ’779 and ’740 CRM claims and the ’378 Apparatus claims

(collectively, the “asserted Beauregard claims”).

       The asserted CRM claims in the ’779 an ’740 patents all claim:

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       A non-transitory computer-readable storage medium having stored thereon
       instructions that are executable to cause a computer system to perform operations
       comprising: [certain tasks].

See, e.g., ’779 at Claim 12 and ’740 at Claim 1.

       The asserted Apparatus Claims of the ’378 claim one element only, memory. Specifically:

       An apparatus, comprising: one or more memories storing program instructions
       executable by the apparatus to: [perform certain tasks].

See ’378 at Claim 16. That is, the ’378 Apparatus Claims are written as Beauregard claims.

III.   THE LAW.

       The Court is familiar with section 1404 and it has been briefed extensively in prior Implicit

cases and in cases consolidated here. See, e.g., Implicit, LLC v. Juniper Networks, Inc., No. 2:19-

cv-00037-JRG-RSP, ECF No. 29 (Opp. to Juniper Motion to Transfer Venue). Sophos ignores the

central issue here: whether assertion of Beauregard claims against            memory invokes the



        “A Beauregard claim—named after In re Beauregard; 53 F.3d 1583 (Fed. Cir. 1995)—is

a claim to a computer readable medium (e.g., a disk, hard drive, or other data storage device)

containing program instructions for a computer to perform a particular process.” CyberSource

Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1368 (Fed. Cir. 2011); see also Deep9 Corp. v.

Barnes & Noble, Inc., 2012 WL 4336726 at *13 (W.D. Wash. Sept. 21, 2012) (“Beauregard claim

is one that recites an article of manufacture that is embodied in a computerreadable medium

such as a disk or CD.”).       “Claims in Beauregard format . . . recite a tangible article of

manufacture—a computer-readable medium, such as a computer disk or other data storage

device[.]” CLS Bank Int’l v. Alice Corp. Pty. Ltd., 717 F.3d 1269, 1287 (Fed. Cir. 2013); see also

UltimatePointer, L.L.C. v. Nintendo Co., Ltd., 2013 WL 2325118, at *22 (E.D. Tex. May 28, 2013)

(Beauregard claims are “a generally accepted style for claiming a computer-readable medium

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containing program instructions”); Radware, Ltd. v. F5 Networks, Inc., 2016 WL 687979 at *3

(N.D. Cal. Feb. 2016) (“a computer-readable medium claim . . . by its very nature, c[an] be

infringed at the moment that software [i]s saved to a storage device.”).

       A Beauregard claim need not say in its preamble that it is directed to a “computer readable

medium.” An apparatus claim that recites only a computer readable medium is a Beauregard

claim. The same is true of system claims. In Deep9 Corp., for instance, the Western District of

Washington held that an “independent system claim” definitely “constitutes a Beauregard claim

because it merely discloses the embodiment of [a] method . . . in a computer readable medium

encoded with a set of instructions to perform the method.” Deep9 Corp. at *13. This Court has

held that a “Beauregard claim, however, is considered to be directed to an apparatus[.]”

UltimatePointer at *22; see also MPEP § 2106(II) (“random-access memory [is] statutory media”)

       Infringement of Beauregard claims does not require actually executing the program

instructions. This is cannot be disputed.2

IV.    ARGUMENT.

       The Court need only answer two questions to dispose of Sophos’s motion:

       First, do Implicit’s assertion of the Beauregard claims

                     Put another way:                               were ripped from the Sophos




2
 See, e.g., Finjan, Inc. v. Blue Coat Sys, Inc., 2015 WL 3630000, at *13 (N.D. Cal. Jun. 2, 2015)
(“clear that infringement doesn’t not require performance of the [step] limitations.”); see also id.
(“infringed when an accused infringer makes, uses, offers to sell, or sells an apparatus containing
a computer usable medium that stores computer readable program code”); Finjan, Inc. v. Secure
Computing Corp., 626 F.3d 1197, 1204 (Fed. Cir. 2010) (“claims at issue are ‘system’ and
‘storage medium’ claims, which do not require the performance of any method steps.”); Typhoon
Touch Techs., Inc. v. Dell, Inc., 659 F.3d 1376, 1381 (Fed. Cir. 2011) (“district court . . .
[properly] held that the ‘memory for storing’ clause requires that the memory is actually
programmed or configured to store the data collection application.”).

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Accused Instrumentalities, would Implicit still have a case on those claims? The answer is a

clear yes.

       Second,                                         , which protects                 ,”

immunize Sophos? The answer is no, Sophos                      .

       Sophos argues that Implicit’s assertion of the asserted Beauregard claims against Sophos

hardware products triggers the                             . Sophos presents two bases for this

argument: “Implicit alleges infringement based on ‘memory’ contained in Sophos’s hardware

products, notwithstanding that [1.] all of those hardware products also                        and

[2.] certain versions of the SG and XG firewall                       .” Sophos Br. at 9. Neither

argument passes the threshold of viability.

       A. The Presence of                       Is Irrelevant.

       The presence of                    in Sophos hardware is no impediment to Implicit’s claims

of infringement—in fact, the presence (or absence) of any chip (regardless of maker) is wholly

irrelevant to Sophos’s claims.

       The CRM claims of the ’779 and ’740 patents are classic Beauregard claims. So are the

Apparatus claims of the ’378. They are all claims on computer memory containing instructions.

Implicit “alleges infringement based on ‘memory’ contained in Sophos’s hardware product,”

Sophos Br. at 9, not the presence                     . Beauregard claims are not method claims.

       The Court dealt with a similar issue in Info. Prot. v. Symantech Corp., 2011 WL 13136605

(E.D. Tex. Nov. 14, 2011). In that case, some of the claims, e.g. claim 1 of the ’717 patent, were

apparatus claims that explicitly recited “[i]n a digital computer system having a digital data

processing means.” Id. at *4. Other claims, e.g., claim 120, were method claims reciting steps

similar to those in the apparatus claims. Id. Defendant “argue[d] that because the claims require


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a processor, [defendant]’s sale of software cannot constitute direct infringement.” Id. at *3. The

Court disagreed, holding that while “the claimed . . . apparatuses must involve a processor in the

manner recited by the preambles, . . . the process[or] is not itself part of the claim[ed] . . .

apparatuses.” Id. at *6. The Court therefore rejected defendant’s “argument that it cannot be a

direct infringer merely because its software contains no processor.” Id.

       The patent claims at issue in Info Prot. were not clearly Beauregard claims. Implicit’s

claims are very clearly and indisputably Beauregard claims. Infringement of Beauregard claims

does not require a processor or the carrying out of any of the instructions. See § III., above. And

even Sophos agrees that Implicit’s Contentions accuse only the “memory” within the Sophos

hardware products of infringement. See Sophos Br. at 5.

       Implicit’s allegations of infringement of asserted Beauregard claims are therefore not

                                                         . See

Implicit’s allegations of infringement of these claims           and indeed do,

                       Id. If the              (regardless of manufacture) were ripped from every

single piece of Sophos hardware, Implict’s claims of infringement would be wholly unaffected.

The presence of                     do not trigger the                      .

       Sophos’s arguments to the contrary are wrong on their face.

       First, Sophos argues that Implicit “effectively conceded that Sophos’s license defense has

substantial merit” because Implicit voluntarily dismissed another “case against Sophos.” Sophos

Br. at 9. Sophos is wrong. The prior case involved different patents, different claims, and different

allegations of infringement. Implicit’s present infringement allegations in the present case are the

only thing that is relevant to whether the present case should be transferred.




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       Second, Sophos argues that the similarities of some of the limitations in claim 1 and claim

19 of the ’740 patent mean that the two claims are “identical and directed toward the same alleged

invention.” Sophos Br. at 10. Sophos’s own comparison of the claims belies its argument. Claim

1 is a Beauregard claim. Claim 19 is a “computer system” claim. Claim 19 claims a processor.

Claim 1 does not. See Sophos Br. at 10. Bereft of any argument based on the text of the claims,

Implicit’s Infringement Contentions, the law, or the plain words of the              , Sophos can

only make a half-hearted appeal to purported “common sense.” Id. Claim 19 and Claim 1 are not

the same invention. One claims a computer readable medium storing certain instructions. The

other claims a computer system with a processor and a computer readable medium storing the

same instructions. These are very different things.

       Third, Sophos makes a peculiar argument that the asserted Beauregard claims contain “a

processor limitation” because they are “directed toward instructions that cause ‘a computer

system’ to take certain steps.” Sophos Br. at 11-12. But, a “Beauregard claim . . . is a claim to a

computer readable medium (e.g., a disk, hard drive, or other data storage device) containing

program instructions for a computer to perform a particular process.” CyberSource Corp., 654

F.3d at 1368 (Fed. Cir. 2011). That is the law. The asserted Beauregard claims are not directed

towards instructions. They are directed towards a computer-readable storage media having stored

thereon instructions. The distinction is important.

       Sophos’s hardware products contain memory—Sophos does not dispute this. Sophos Br.

at 11. Implicit accuses only that “memory” of infringing the asserted Beauregard claims. Sophos

agrees. Sophos Br. at 9 (“based on ‘memory’ contained in”). The fact that the hardware products

containing the accused memory also contain a processor is irrelevant to the infringement analysis.

The hardware products containing the accused memory probably contain lots of other things—


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wires, screws, circuit boards, fans, power supplies, etc. But their presence has no bearing on

Implicit’s claims of infringement. See



                    .

       As Judge Whyte explained in Radware “a computer-readable medium claim . . . by its very

nature, c[an] be infringed at the moment that software [i]s saved to a storage device.” 2016 WL

687979 at *3 (N.D. Cal. Feb. 2016). Does an infringing DVD (which does not have a processor)

become                                  if it is put into a computer with an             ? What if

one put the infringing DVD in a cardboard box along with a handful of                     —

                              That is the absurd argument that Sophos is making. See Sophos Br.

at 12 (

                                                     ). Accepting Sophos’s argument that Implicit’s

Beauregard claims “require the presence of processors” would abrogate Beauregard itself along

with a quarter century of jurisprudence based on it. And it would re-write all Beauregard claims

to require a processor and execution.

       The cases Sophos cites do not support the demolition of Beauregard that Sophos demands.

In Mirror Worlds Techs., the Court construed “computer system,” to mean “a processing device[.]”

2015 WL 179072 at *4 (E.D. Tex. Jan. 14, 2015). In Graphics Properties Holdings, the Court

held that the term “digital computer system,” meant “[o]ne or more processing devices.” 2014

WL 4929340, at *17 (D. Del. Sept. 29, 2014). So what? The Court could construe “computer

system” in the asserted Beauregard claims to mean “processing device” and the asserted

Beauregard claims would still be Beauregard claims. That is, they would still be claims on “a

computer readable medium (e.g., a disk, hard drive, or other data storage device) containing


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program instructions for a computer to perform a particular process.” CyberSource Corp., 654

F.3d at 1368 (Fed. Cir. 2011). As an exercise, replace “computer system” in the preamble of claim

1 of the ’740 Patent with “processing device” like so:

       A non-transitory computer-readable storage medium having stored thereon
       instructions that are executable to cause a processing device computer system to
       perform operations comprising:

Claim 1 is still a Beauregard claim. It is still infringed by hard drive, a disk, or other data

storage device. The presence of a processor in the same box as an infringing storage device

makes no difference to the infringement analysis one way or the other. See




                         )

       Fourth, Sophos’s argument about indirect infringement, Sophos Br. at 12, was not

raised by Sophos before filing it motion, see Exs. 1-3, and improperly confuses infringing

acts (“use”) with the type of asserted claim and the precise instrumentality accused.

Furthermore, Implicit’s Infringement Contentions do not (and are not required) to identify

for which claims and which accused instrumentalities Implicit assets induced infringement.

Nevertheless, Implicit’s Amended Infringement Contentions (Ex. 4) make clear that

Implicit does not assert that Sophos induces infringement of the asserted Beauregard

claims by encouraging Sophos’s customers’ “use” of Sophos’s hardware products.

       Fifth, Sophos’s argument about willful infringement, Sophos Br. at 12-13, is

nonsensical. The standard for willful infringement has nothing to do with whether

Beauregard claims “require ‘any steps actually be carried out.’”




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        Finally, Sophos’s position regarding                             , see Sophos Br. at

13, is pure fantasy.




                       . Sophos            . See

             In any event, Sophos admits that for the asserted Beauregard claims, Implicit

alleges infringement only by “‘memory” in Sophos’s hardware products, Sophos Br. at 9,

not

        In sum, Sophos tries many different ways to rewrite Beauregard claims to include

a processor limitation. “The Beauregard claim form, however, [i]s for ‘computer programs

embodied in a tangible medium.’” Classen Immunotherapies, Inc. v. Biogen IDEC, 659

F.3d 1057, 1074 (Fed. Cir. 2011). Nothing, absent action by Congress, the Federal Circuit,

or the Supreme Court can change that fact. Until one of those entities acts, Sophos’s

arguments that Implicit’s infringement allegations somehow require a processor and

therefore                           are flat-out wrong and non-viable.

        B.                                     is Mooted.

                                                                                         —

which is not a party to this lawsuit—swears under oath that certain




        The parties exchanged numerous letters before Sophos filed its brief (and indeed

before Implicit served its Infringement Contentions)—and indeed stretching back almost a


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year. See Exs. 1-3 & 5-6. Sophos repeatedly asserted that “

               ” Ex. 1 (August 2018) at 1; the                                                          ” Ex.

2 at 2; and Ex. 3 at 2 (“

            ”). Implicit explained that the Beauregard claims are claims on memory storing

instructions. See, e.g., Ex. 6 at 3 (“[t]he law on computer readable medium claims is

exceedingly clear: ‘a computer readable medium claim . . . by its very nature, could be

infringed at the moment that software was saved to a storage device.’”). Yet Sophos’s

lawyers never once mentioned

                                    .3

           Had Sophos so informed Implicit, Implicit would have

                                            . No matter. Implicit does so now. Implicit’s Amended

Infringement Contentions (Ex. 4) no longer



                                                                    .” Kerst Decl. at ¶¶ 2 & 5. Implicit notes

that the



                                                                                                            Implicit

will seek leave to amend its Infringement Contentions.

           C. The                                    Doesn’t Apply & Arguments to the Contrary Are
              Frivolous

           Sophos admits that Implicit’s assertion of its method and system claims does not

trigger the forum selection clause. Sophos Br. at 5. Sophos admits that Implicit’s assertion



3
    This fact appears to be non-public—Sophos sealed the declaration so stating. See ECF No. 67 at 1.


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of its Beauregard claims are directed only towards the “‘memory’ contained in Sophos’s

hardware products.” Sophos Br. at 9. As a matter of law, those assertions, have nothing

to do                   and therefore cannot                                        See above,

Section IV.A.. And Implicit has affirmatively disavowed infringement assertions against

                           . See above, Section IV.B. And Sophos doesn’t argue that the

remaining accused memories are                                              . There is nothing

left of Sophos’s motion. At least nothing viable.

        Sophos therefore has “not shown [Implicit’s] contentions give rise to a legitimate

dispute as to whether a specific product or component is licensed under the

             or that the                       is ambiguous and requires interpretation.”

Invensas Corp. v. Samsung Elects. Co., Ltd., 2018 WL 3862060, at *3 (E.D. Tex. Aug. 13,

2018). Just as in Invensas, although Sophos “allege[s] a dispute as to what accused

products are covered by the          license” Sophos “offer[s] no evidence showing such a

dispute legitimately exists.” Id. Sophos’s arguments are just that, arguments that have no

basis in fact or law.

        Courts frequently reject demands to apply venue selection clauses in cases where

claims do not arise under the agreement in question. See, e.g., Innovative Display Techs.

LLC v. Microsoft Corp., 2014 WL 2757541, at *6 (E.D. Tex. Jun. 17, 2014) (“forum

selection clause . . . not applicable” where plaintiff made “clear that it only seeks to recover

damages . . . based on . . . alleged infringement” taking place “after the expiration date of

the license”); Comcast Corp. v. Rovi Corp., 2015 WL 7235802 at *4 (S.D.N.Y. Dec. 14,

2016) (same); Tessera, Inc. v. Advanced Micro Devices, Inc., 2008 WL 239215 at *3 (N.D.

Cal. Jan 28, 2008) (venue selection clause inapplicable where patentee “represented to


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court that it [wa]s not pursuing an ITC action against any products” that would have been

covered by the license). There is no reason to do otherwise here.

       None of Zix, Uniloc, or Sophos’s Tessera demand, or even counsel, a different

result. In Zix, the Court explained that the Federal Circuit has “rejected the extreme idea

that all that is required to trigger . . . a forum selection clause is a license and a bare

allegation that it provides a defense to the claims in suit.” 2016 WL 7042221, at *2 (E.D.

Tex. Jun. 9, 2016). But that is all that Sophos offers the Court. And as Zix held, “the

determination” of whether a defense is non-frivolous “is tied to the particulars of the case

and must be evaluated on a case-by-case basis.” Id. at *3. The facts of this case are closer

to Invensas than to Zix. In Uniloc, the defendant came “forward with colorable, factually

specific arguments as to why it sues and sale of certain [accused] products falls within the

third party beneficiary provision of the [settlement] Agreement” at issue. 2017 WL 959856

at *4 (E.D. Tex. Mar. 13, 2017). In contrast, Sophos relies on legal arguments that are

wrong as a matter of law. The Tessera that Sophos cites involved an agreement relating to

the use of communications to prove willfulness and bears no similarity to the issues

presented by Sophos’s motion. See 2018 WL 8014281 at *3-*4 (E.D. Tex. Sept. 5, 2019).

       D. Sophos Abandons its Personal Jurisdiction Argument

       On June 4, 2019, Sophos moved to dismiss the present case because, according to Sophos,

this Court lacked personal jurisdiction over Sophos Ltd. Implicit opposed that motion on June 18,

2019. On June 26, 2019, Sophos replied. The primary thrust of Sophos’s Reply was that Implicit’s

Opposition “FAILED TO ESTABLISH THAT SOPHOS LTD. IS SUBJECT TO PERSONAL

JURISDICTION IN THIS DISTRICT.” ECF No. 58 at 2 (heading). Now, in its Motion to

Transfer, filed just five days later (July 1), Sophos admits that the arguments made by Implicit that


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Sophos is subject to personal jurisdiction in the Eastern District of Texas indicate that Sophos “is

also subject to personal jurisdiction in Delaware.” Sophos Br. at 7. If this is true, why did the

parties spend time and expense on the prior rounds of briefing?

        E. The Convenience Factors Weigh Against Transfer

        Sophos offers no evidence whatsoever to support the Court’s private convenience factors

analysis. Having failed to offer proof, Sophos forces the Court to improperly speculate as to the

convenience factors. See Mears Techs., Inc. v. Finisar Corp., No. 2:13-CV-376-JRG, 2014 WL

1652603, at *2 (E.D. Tex. Apr. 24, 2014).

        The convenience factors clearly weigh against transfer. Sophos clearly maintains a

significant presence in Texas. Numerous Sophos employees are located in the Dallas/Fort Worth

Area. See Ex. 7. Sophos provides a partner portal for those Texas-based partners to access,

references a physical training location in Dallas, and allows prospective customers, including those

in Texas, to receive services regarding XG Firewall and Web Server Protection products. See ECF

No. 49 at 5-6. Sophos also hosts a quarterly meetup for Sophos customers, partners, and anyone

interested in IT Security, the most recent of which was in the Eastern District of

Texas. Id. Further, keeping this case in this Court would serve judicial economy because this

Court has significant, recent familiarity with Implicit’s technology and the Asserted Patents.

   V.      CONCLUSION.

        For the reasons set forth above, Implicit respectfully requests that this Court deny

Sophos’s Motion to Transfer Venue.

 Dated July 15, 2019                                Respectfully submitted,

                                                    /s/ Brandon C. Martin
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                                                    Brandon C. Martin, pro hac vice,

Plaintiff’s Response to Defendant’s Motion to Transfer Venue                                     15
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                                                      Counsel for Plaintiff Implicit, LLC



                                    CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document and all attachments thereto are being filed
electronically in compliance with Local Rule CV-5(a). As such, this document is being served this July 15,
2019, on all counsel of record, each of whom is deemed to have consented to electronic service. L.R. CV-
5(a)(3)(A).
                                                      /s/ Francesca Miki Shima Germinario             _
                                                      Francesca Miki Shima Germinario


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                                      STATEMENT BY COUNSEL
        Counsel for Plaintiff Implicit, LLC certifies that Plaintiff has filed a Motion to Seal the
foregoing document.

                                                        /s/ Brandon C. Martin
                                                        Brandon C. Martin




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